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                                                                  SIDLEY AUSTIN LLP



             SIDLEY
                                                                  787 SEVENTH AVENUE
                                                                  NEW YORK, NY 10019
                                                                  + 1 212 839 5300
                                                                  +1 212 839 5599 FAX




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                                                                                          June 10,2018
             BY FACSIMILE AND ECF

             The Honorable Henry Pitman
             United States Magistrate Judge
             United States District Court
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                    Re:             Wilmington Trust N.A. v. 1141 Realty Owner LLC et al. No. 17-cv-7081 (LGS)

             Dear Magistrate Judge Pitman:

                    We represent Plaintiff in the above-referenced matter. We write to request an emergency
             conference with Your Honor to discuss the imminent request of Robinson Brog Leinwand
             Greene Genovese & Gluck P.C. ("Robinson Brog"), counsel to Defendant 1141 Realty Owner
             LLC ("Borrower") and Jagdish Vaswani ("Vaswani," and together, with Borrower, the
             "Defendants"), to withdraw from these proceedings based on Defendants' alleged failure to
             honor their pecuniary obligations to Robinson Brog. As set forth below, while we are not
             unsympathetic to Robinson Brog's plight, it is essential that the briefing on Plaintiffs Renewed
             Motion for the Appointment of a Receiver (the "Renewed Receiver Motion") [Dkt. No. 172]
             continue without any delay to avoid any further deterioration of Plaintiff s collateral.

                     As Your Honor knows, on May 30, 2018, Plaintiff filed the Renewed Receiver Motion.
             Among the multitude of reasons justifying the appointment of a receiver, Plaintiff presented
             substantial and compelling evidence that Borrower (i) has failed to remit payment for essential
             services such as electricity and gas, (ii) does not have any management company or manager in
             place to operate the Hotel, (iii) has no online booking service for the Hotel, (iv) has no income
             from the sale of liquor since Borrower does not have a liquor license in full force and effect,
             (v) has no income from food or beverage service at the Hotel as Borrower has shuttered its bars
             and restaurants, and (vi) has no ability to pay the significant amount of past due accounts
             payables, which total over $1 million. (Dkt. No. 173 at 21.)

                    Even today, Borrower still has not even attempted to remedy these very real threats to the
             existence of the Hotel. Instead, over the course of the past several weeks, Defendants have only
             sought to delay the completion of the briefing of the Renewed Receiver Motion and extend the




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             June 10, 2018
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             deadline for the completion of discovery.1 Most recently, on June 7, 2018, Defendants asked
             that the Court extend discovery by another three weeks (the "June 7 Request") to accommodate
             the fact that Defendants, Defendant Robert K.Y. Chan, and several third parties had not yet
             finished producing documents. (Dkt. No. 179.)

                     Notably absent from Defendants' extension request - not to mention from any of the
             discussions between the parties concerning Defendants' various extension requests or the many
             meet and confer telephone conferences concerning the scheduling of numerous depositions - is
             any mention of Robinson Brog's withdrawal from these proceedings. Indeed, Robinson Brog
             did not disclose its planned withdrawal until the evening of June 8,2018, for all intents and
             purposes the eve of the deadline for Borrower's opposition to the Renewed Receiver Motion and
             after Plaintiff already agreed to a further extension of the discovery deadline. In fact, Robinson
             Brog waited until approximately 5:30 p.m. EDT on June 8 to advise that it would be seeking (i)
             to withdraw as Defendants' counsel and (ii) a 30 day extension of all deadlines, including the
             June 13 deadline for Borrower's opposition to the Renewed Receiver Motion. Minutes after
             Robinson Brog's surprise disclosure, Your Honor granted the June 7 Request.

                     Robinson Brog's belated disclosure of its impending request to withdraw until after
             Defendants secured their desired extension and mere days before the deadline for Defendants'
             opposition to the Renewed Receiver Motion, smacks of gamesmanship. Indeed, on numerous
             occasions, Robinson Brog advised Plaintiff that it needed the extension so that it could draft
             Borrower's opposition to the Renewed Receiver Motion, to review documents, to prepare for
             depositions, and to go on vacation, but never even hinted that it might withdraw. While we
             recognize the potential propriety of permitting Robinson Brog's withdrawal as counsel due to
             Defendants' alleged failure to pay their fees, Plaintiff will be unduly prejudiced - and the state of
             the Hotel will only continue to further deteriorate - if Robinson Brog is permitted to withdraw
             before the Renewed Receiver Motion is fully briefed on June 20. Plaintiff respectfully requests
             that Your Honor convene a telephone conference with all parties on an emergency basis, and
             require Vaswani, who is also Borrower's corporate representative, to personally attend.




             1 First, on May 24,2018, Defendants asked the Court not to hear Plaintiff's then-impending renewed motion for the

             appointment ofa receiver on an expedited basis due to vacation plans. (Dkt. No. 166.) Then on May 29, 2018,
             Defendants professed to need a full 14 days to respond to the then-impending receiver motion based on the
             "seriousness of the motion and the numerous depositions to be scheduled in June." {See Dkt. 171.) Then On June 1,
             2018, after the filing of the Renewed Receiver Motion, Defendants again sought to delay the briefing based on Your
             Honor's June 1, 2018 Order, and also requested a 30-day extension of the discovery deadline "to provide more time
             for the review of documents to prepare for depositions."
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                         Thank you for your attention to this matter.

                                                                  Respectfully submitted,

                                                                  /s/ Elizabeth W. Walker

                                                                  Elizabeth W. Walker
             Cc: Counsel of Record




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